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      =




                                          IN THE UNITED STATES DISTRICT COURT
       NO




                                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
       WY




                  CALIFORNIA COALITION            FOR WOMEN
                  PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
       FP




                  G.M.; A.S.; and L.T., individuals on behalf of
                  themselves and all others similarly situated,         CASE NO. 4:23-CV-04155-YGR
        UH




                                         Plaintiffs
                                  Vv.
        ND




                                                                        DECLARATION OF PATRICK DEVENEY
                  UNITED STATES OF AMERICA FEDERAL
                  BUREAU OF PRISONS, a governmental entity;
            Oo




                  BUREAU OF PRISONS DIRECTOR
                  COLETTE PETERS, in her official capacity;
            oOo




                  FCI DUBLIN WARDEN THAHESHA JUSINO,
                  in her official capacity; OFFICER
Sle




                  BELLHOUSE, in his individual capacity;
                  OFFICER GACAD, in his individual capacity;
            S|




                  OFFICER JONES, in his individual capacity;
ReESEelOO




                  LIEUTENANT JONES, in her individual
            NY




                  capacity; OFFICER LEWIS, in his individual
PEO




                  capacity; OFFICER NUNLEY, in his individual
            WD




                  capacity, OFFICER POOL, in his individual
Ul Sl




                  capacity, LIEUTENANT PUTNAM, in his
            Ee




                  individual capacity; OFFICER SERRANO, in
                  his individual capacity; OFFICER SHIRLEY, in
            OH
US




                  his individual capacity; OFFICER SMITH, in his
                  individual capacity; and OFFICER VASQUEZ,
            DWN
SES




                  in her individual capacity,
            HN
KF




                                        Defendants.
            eH
FF




                  I, Patrick Deveney, hereby declare as follows:
            CO
FF




                      1.   Iam currently the Associate Warden and Prison Rape Elimination Act (PREA) Compliance
            Oo
NO




                           Manager for the United States Department of Justice (USDOJ) Federal Bureau of Prisons (BOP),
            KH
NO




                           Federal Correctional Institution (FCI) at Dublin, CA. I assumed these positions in July 2022.
            NO
NO




                           Prior to assuming these positions, I served as Associate Warden, Federal Detention Center,
            WD
NO




                           SeaTac, WA; Program Review Management Analyst, Central Office, Washington D.C.; Acting
            FR
NHN




                           Chief, American Correctional Association (ACA)/PREA Audit Section, External Auditing
HNO
        A




                           Branch, Program Review Division, Central Office, Washington, D.C.; Unit Manager, Federal
        KN
NO




                           Medical Center, Devens, MA; Case Manager, FCI Berlin, NH; Acting Camp Administrator, FCI
wo
        “oN




                           Berlin, NH; and Correctional Officer,   FCI Fort Dix, NJ. I started my career in the BOP in 2011.
NO




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                        2.     As PREA Compliance Manager, I maintain responsibility for the Sexually Abusive Behavior
      =




                               Prevention and Intervention Program.    I provide supervisory oversight to ensure the coordination
      YH




                               of institution departments in prevention, detection, intervention, and response, as specified in this
      WY




                               Program Statement. I work with Supervisory staff that serve as PREA points of contact in key
       Fe




                               departments including Correctional Services, Psychology Services, and Health Services, to assist
       AH




                               me with the implementation of PREA policy.
       ND




                             . As Associate Warden, I also supervise Computer Service, Employee Development, Facilities,

                               Financial Management, Food Service, Health Services, Human Resources, Labor Management
       me




                               Relations, Safety, and Trust Fund. I routinely interact with both staff and inmates daily, and
        Oo




                               personally monitor various areas and operations throughout FCI Dublin. I serve on the
UBULULNUUCUEClCUO




                               Executive Team and provide input to the Warden on various institutional matters.      I also serve as
 eee




                               the Acting Warden when the Warden is on leave.

                             . On January 31, 2024, in my capacity as PREA Compliance Manager, I received notification of a

                               new PREA allegation against staff from inmate C.B., Reg. No. a.                I initiated PREA
         Re




                               protocols. While protocols were ongoing, I received verbal notification that inmate C.B. may

                               have been coached into filing a false PREA allegation against staff by inmate R.F., Reg. No.
       NON
www




                              a.           to help secure Compassionate Release from BOP.
OHO re
HNO
TO
KH
NR
NY
NN
 WY
NHN
  SP
 WN
  UA
 HO
  KN
 HN who
 oN
 Nw




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  NY
  WY
  Fe
  OH
  NN
   eo
   Oo
    SO
ele
 YF




             12. SIS staff are trained in conducting investigations to obtain facts and annotate recommendations
   NY




                 for management of individuals in BOP Custody. SHU placement is recommended until SIS staff
   WD
ee




                 determine how best to manage individuals under SIS investigation who threaten the orderly
SF




                 running of an institution. The SIS investigation into R.F. would inform whether R.F. had
   rH
mr




                 coached this inmate into filing a false allegation against staff and the agency or, conversely, that
DK




                 she did not assist this individual in filing a false allegation, and how best to manage her at FCI
FON
mw




                 Dublin.

             13. As a result of the report that inmate R.F. had possibly coached this inmate to file a false PREA
CO
me




                 allegation against staff, I notified the Warden on January 31, 2024, of events concerning this
 ODO
HN




                 PREA allegation.
KH
KN




             14. In a meeting between the Warden, Acting Associate Warden of Programs, Legal and myself,
 NY
NHN




                 staff collectively determined an investigation into inmate R.F.’s involvement in assisting inmates
 WY
NHN




                 to file false PREA allegations was warranted to ensure the safety, security, and orderly running
FR
NO




                 of the institution. Pending the outcome of an SIS investigation, BOP staff placed inmate R.F.
 ON
NH




                 into SHU. R.F.’s placement in SHU was not directed by Lt. Baudizzon nor anyone in the SIS
  KN
 NH




                 department.
    NO
 oN
 pO




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               15. When BOP staff placed inmate R.F. in SHU on January 31, 2024, she immediately announced a
  =




                     Hunger Strike and elected to act uncooperatively toward staff that attempted to meet her needs.
  NY




                     Within 48 hours of inmate R.F.’s placement in SHU, nine other inmates followed R.F.’s lead and
  WY




                     elected to begin Hunger Strikes creating greater concerns for the wellbeing of the individuals in
  FF




                     our custody and care.
  AH




               16. Based on the number of inmates on hunger strike in SHU, BOP staff determined to open an
  DH




                     additional investigation to uncover whether inmate R.F. had started to orchestrate a Group
     NN




                     Demonstration with other inmates in SHU to remain on Hunger Strike. The SIS investigation
      eo




                     would assist us in obtaining the facts to determine what was occurring with the inmates on
      o




                     Hunger Strike. Based on the safety, security, and orderly running of the facility, the Western
      OC




                     Regional Office was notified, and it concurred that inmate R.F. should be transitioned to
      KH
=|




                     temporary segregation (Tran-seg) to Metropolitan Detention Center, Los Angelos on February 6,
      NY




                     2024, where she would remain pending the outcome of this investigation.
S|
      WD




               17. The hunger strike officially concluded by the afternoon of February 6, 2024, as all nine inmates
     FP
|




                     had resumed eating again. The SIS investigation concluded that there was no common purpose
FF
     A




                     among the inmates who participated in the hunger strikes.
     DBD
|




               18. BOP staff did not initially place R.F. in SHU for her possession of two-inch screws. BOP never
  HN
F|




                     communicated with R.F. that her SHU placement had anything to do with possessing two-inch
  Se
F&F




                     screws.
  Oo
  DODO




               19. On February 14, 2024, FCI Dublin received an unannounced judicial visit from Judge Yvonne
NO




                     Gonzalez-Rogers. Upon conclusion of the visit, Judge Gonzalez-Rogers notified BOP of
NO
  |




                     violating the Court Order not to transfer any inmates involved in the Evidentiary Hearing.
NY
  WN




                     Within 48 hours of Judge Gonzalez-Rogers’ visit, BOP had returned inmate R.F. to FCI Dublin.
WN




                     As R.F. returned to     FCI Dublin, I was awaiting additional facts from the SIS investigation to
  RR
NV




                     determine whether inmate R.F. had assisted other inmates to file false PREA claims and how to
  OW
WN




                     move forward with inmate R.F.’s placement recommendation.
  DN
NY




               20.
  nN
NO
  ao
NO




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   NY
   WY
   FP
   AH
   DH
   HN
   Oo
   oO
   BS
   K§
   NY
   WO
   FP nH
Ree
   NH




               23. On the evening of February 16, 2024, inmate R.F. returned to FCI Dublin and to General

                   Population. Health Services reported to me that inmate R.F. acted uncooperatively during the
Bo




                   intake screening process and refused to be medically assessed.
B=
BO




               24. On February 21, 2024, while standing mainline during the afternoon meal, I observed inmate
NO
DO




                   R.F. attempt to cut in front of approximately 40 other inmates waiting in line to eat. R.F.
 KY
YN




                   confidently walked past staff and other inmates waiting in line. I gave R.F. a direct order to go
 NY
YN




                   to the end of the line and not cut in front of others. R.F. then exclaimed, “they called me in
WY
NN




                   there!” I advised R.F. that no one advised no one called her into Food Service and go to the back
 Rh
NY




                   of the line. R.F. began to yell into the crowd of inmates waiting in front of her, “Look how he
 UN
NH




                   just singled me out, this is what I’m taking about!” Since inmate R.F. obeyed my instruction so
   NO
NN




                   no further explanation was necessary.
bw
ao
Nb




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           I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

correct.

           Executed this 23rd day of February 2024 at Dublin, California.



                                                              Ourmun                 —
                                                         PATRICK DEVENEY Y
                                                         Associate Warden/ PREA Compliance Manager
                                                         Federal Correctional Institution, Dublin, CA




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